                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                   MOTION FOR ADMISSION PRO HAC VICE

             0:21-cv-01332
Case Number: ____________________

            Michael J. Lindell v. US Dominion, Inc. et al.
Case Title: ________________________________________


                                       Affidavit of Movant

   Alec J. Beck
I, ____________________________,       an active member in good standing of the bar of the U.S.
District Court for the District of Minnesota, request that this Court admit pro hac vice
 Doug A. Daniels
_________________________________,          an attorney admitted to practice and currently in good
standing in the U.S. District Court for (please identify ONE specific district to which the
                       the Southern District of Texas
attorney is admitted) _________________________________,         but not admitted to the bar of this
court, who will be counsel for the X plaintiff                Michael J. Lindell
                                                    defendant _____________________________
in the case listed above.

I am aware that the local rules of this court require that an active Minnesota resident, unless the
court grants a motion for a non-Minnesota resident to serve as local counsel, who is a member in
good standing of the bar of this court participate in the preparation and presentation of the case
listed above, and accept service of all papers served.

Check one of the following:

X I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

    I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the
case listed above, and accept service of all papers served as required by LR 83.5(d) should my
motion for a non-resident to serve as local counsel be granted by the court (sign and complete
information below and attach a completed Motion for Permission for a Non-Resident to Serve as
Local Counsel).

                    s/Alec J. Beck
       Signature:______________________________                     6/4/21
                                                             Date: ___________

                              201133
       MN Attorney License #: _____________________




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